IVES ICE CREAM CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Ives Ice Cream Co. v. CommissionerDocket No. 12755.United States Board of Tax Appeals15 B.T.A. 376; 1929 BTA LEXIS 2876; February 12, 1929, Promulgated *2876  Credit allowances given on certain used trucks which were traded in when certain new trucks were acquired, held to represent the selling price of the used trucks.  C. H. Preston, C.P.A., for the petitioner.  A. H. Fast, Esq., for the respondent.  LITTLETON*376  The Commissioner determined deficiencies in income and profits tax for 1920 and 1921 in the respective amounts of $5,443.84 and $4,685.87.  In its original and amended petitions the petitioner alleges four errors.  At the hearing it was agreed that with one exception all of the allegations of error had been adjusted or abandoned.  The only issue submitted to the Board is the amount of gain realized by the petitioner as the result of trading in certain used automobile trucks in the acquisition of new trucks.  FINDINGS OF FACT.  Petitioner is a Minnesota corporation with its principal place of business at Minneapolis, where it is engaged in the manufacture, sale and delivery of ice cream.  On February 24 and March 27, 1920, petitioner acquired three new automobile trucks for use in its business.  It was billed for such trucks at the manufacturer's list prices in the total amount*2877  of $11,133.62.  As part of the same transaction it received credit on the invoices rendered it in an amount of $1,800 as the trade-in value of certain used trucks.  December 8, 1920, petitioner turned in four Ford Trucks in connection with the acquisition of the three new trucks to be delivered April 1, 1921, and received credit memos therefor in the amount of $1,900.  The total list price of the three trucks then and so acquired was $10,289.70.  In the automobile truck trade it is the custom for manufacturers to fix the prices at which their products are to be sold to users.  Such prices are known as the manufacturers' retail list prices and are commonly referred to as the list price and hereinafter are so designated.  The petitioner uses more than five trucks in its operations and is classified by the automobile truck trade as a fleet user.  It is a custom in such trade to allow fleet users who purchase trucks certain discounts from list prices that are not commonly conceded to the users of a single truck.  *377  All the new trucks acquired by the petitioner as set forth above were purchased from the H. E. Wilcox Motor Co., the manufacturer thereof.  In the year 1921*2878  such company was in financial difficulties and in the next year its business and property were taken over by receivers.  In its income and profits-tax return for 1920 petitioner included in its gross income the amount of $1,222.18 as gain realized from the sale of the seven trucks which it had disposed of in its deals for new machines acquired as and when above set forth.  Upon audit of such return the Commissioner adjusted depreciation on the trucks traded in, held that the trade-in credits on old trucks were the sale prices thereof, and added to gross income the amount of $1,006.76 as profit realized from the sale of capital assets and thereby determined that a total profit of $2,228.94 was realized from the disposition of capital assets in the year 1920.  OPINION.  LITTLETON: The only dispute between the parties is the amount of profit realized by the petitioner in the disposition of certain motor trucks, the Commissioner having determined a profit from this source of $2,228.94, whereas the petitioner reported a profit of only $1,222.18.  The parties apparently are agreed on the adjusted cost which the Commissioner determined on all trucks disposed of, and are in disagreement*2879  only as to whether the credits allowed of $1,800 and $1,900, as the trade-in values of certain used trucks, represent the sale price from which their adjusted cost should be deducted in order to determine the profit realized on the transaction.  The question, then, is whether the full credit allowances are to be recognized as the consideration received for the trucks traded in.  The greater part of the evidence is directed to the proposition that a discount was allowed the petitioner on the new trucks acquired by allowing a greater credit for the old trucks than their true market value, and that the purported consideration for the old trucks should be reduced accordingly.  In support of this contention with respect to the transaction where a credit allowance of $1,800 was made, the salesman for the company which sold the trucks to the petitioner and likewise acquired the old trucks, testified that the sales price of the new trucks for cash to a purchaser using five or more trucks would have been 20 per cent less than the list price.  He also testified that the fiar market value of the two old trucks was from $300 to $500 each.  With respect to the transaction wherein the credit allowance*2880  of $1,900 was made, the same witness testified that the discount on the new trucks then acquired (if the transaction had been with a cash purchaser situated as the petitioner) would have been *378  15 per cent less than the price at which they were billed to the petitioner.  Another witness, who had been selling trucks since 1913 and who was with the H. E. Wilcox Motor Co. when the transactions in question took place, testified that purchasers of trucks for cash situated as the petitioner would ordinarily receive what is known to this business as the national users' discount and that this would be from 10 to 20 per cent.  He further testified that the following procedure was followed where old trucks were being traded in: Well, we would usually go out and appraise the truck and you would figure about what you could get for that truck, actual cash value, and to that you would add the discount that you thought the man was entitled to on fleet owner's discount; in this particular case there has been no discount deducted from the those invoices, and while I did not make the discount it looks apparent to me that it made a certain approximation of the cars, and added fifteen or twenty*2881  per cent of the list price of the chassis and added that to the trade-in.  The vice president of the petitioner (the man who handled the transactions for the petitioner) testified that when the new trucks were purchased it was considered that, in lieu of a discount, allowance was being made in the form of a greater trade-in value for the old trucks and that it would not have made a purchase of the new trucks on a cash basis at the list price, but would have paid approximately 15 per cent less than the price at which they were billed in the trade-in transactions.  No evidence was offered as to the cash or fair market value of the old trucks involved in the transaction where a credit of $1,900 was received.  On the basis of these discounts the witnesses testified that the fair market value of the new trucks was approximately 15 per cent less than the prices at which they were billed to petitioner.  But what may have been the fair market value of the old and/or new trucks, we do not regard as conclusive of the issue before us.  That a person may be so fortunate as to dispose of something for more than it is worth or more than it would ordinarily sell for on the market would not in*2882  any way require that the gain from the transaction should be reduced on account of the excess price received.  What gain may have been realized in a given sale or exchange has as a necessary incident in its determination the consideration received by the person who disposed of the article which was sold or exchanged, and it is immaterial what some one else may have been willing to have given for the same thing.  Certainly, to the person who acquired the article and later disposed of it, the starting point in a determination of gain or loss would be the price or value given therefor.  This is well illustrated by cases of the type at bar where a used article is disposed of and a new article of a similar type is acquired.  In reality there are two transactions, one in which something is sold and another in which something is acquired.  Taking *379  the position of the Wilcox Motor Co., with whom the petitioner made the deals in question, the cost of the old trucks would be the credit allowances given therefor, and if it should dispose of these trucks at less than the credit allowance there would, of course, be a deductible loss sustained.  But in the case of the new trucks, the*2883  price at which they were billed to the petitioner, such amount being paid by cash and the credit allowance, would be includable in its gross income.  Where the used trucks are disposed of in the same year in which the new trucks are sold, any excessive allowance or costs for old trucks would be reflected in the loss on their sale, which loss in turn would be deductible from the gross income in which was included the total selling price for new trucks, with any excess appertaining thereto.  And even where the used trucks are not disposed of in the same year, and the dealer inventories his trucks on the basis of cost or market, whichever is lower, the excess allowance would effectually be used to reduce income for the year in which the old trucks were acquired by inventorying these old trucks at cost or market, whichever is lower.  (See .) The foregoing observations are, of course, made largely with respect to the dealer in trucks, but in the case of the purchaser and user of the trucks we fail to see where any hardship necessarily results from treating the entire allowance as the sale price of the old trucks and the price at which the*2884  new trucks were billed to him as the cost of the new trucks, since depreciation on the new trucks, which, in effect, is a gradual sale, would be deductible on the basis of the price at which the new cars were billed to him (which is what we understand the Commissioner has done) and in this manner the whole cost would be recovered as a reduction of income.  Further, in the case of any future disposition of the new trucks, the higher cost, if such there was, would serve to reduce the amount of profit or increase the loss which would result therefrom.  By treating the transactions in question in the foregoing manner, any necessity for speculation as to any appreciation in value placed on the old trucks or as to discount from the list price of the new trucks is eliminated.  We do not doubt, as witnesses for the petitioner testified, that a discount to cash purchasers situated as the petitioner was customarily allowed, nor do we have reason to doubt that a greater credit allowance was given for the old trucks, because at the same time new trucks were being acquired, but this is far from saying that the old trucks were sold for less than the credit allowance or that the new trucks were*2885  acquired for less than the price at which they were billed to the petitioner.  The facts are that the old trucks were traded in and credit memoranda issued to the petitioner in the amounts which the Commissioner has considered as the selling price of the old trucks, and these credits were used in their entirety to reduce *380  the price at which the new trucks were billed to the petitioner.  In view of the foregoing, we consider that the Commissioner's determination of what constituted the selling price is correct and his action is accordingly sustained.  Reviewed by the Board.  Judgment will be entered under Rule 50.LANSDON, SMITH, PHILLIPS, GREEN, and MILLIKEN dissent.  